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             IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MONTANA

                             HELENA DIVISION

                                 )
                                 )
BENNETT K. MACINTYRE,            )   Cause No. CV-19-42-H-SEH
                                 )
                Plaintiff,       )
                                 )
     v.                          )   CARROLL COLLEGE’S
                                 )   BRIEF IN SUPPORT OF
CARROLL COLLEGE,                 )   MOTION FOR SUMMARY
                                 )   JUDGMENT
                Defendant.       )
                                 )
                                 )
                                 )
                                 )

__________________________________________________________________



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      Carroll College (“Carroll”) submits this Brief in Support of its Motion for

Summary Judgment. For the reasons set forth below, Carroll respectfully requests

the Court grant its motion.

                     SUMMARY JUDGMENT STANDARD

      “Summary judgment should be granted if ‘there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.’”

Kohler v. Bed Bath & Beyond of California, LLC, 778 F.3d 827, 829 (9th Cir.

2015) (quoting Fed.R.Civ.P. 56(a)).

      “A moving party without the ultimate burden of persuasion at trial . . . has

both the initial burden of production and ultimate burden of persuasion on a motion

for summary judgment.” See e.g., Nissan Fire & Marine Ins. Co., Ltd. v. Fritz

Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000) (citations omitted). To meet

the initial burden, “the moving party must either produce evidence negating an

essential element of the nonmoving party’s claim or defense or show that the

nonmoving party does not have enough evidence of an essential element to carry

its ultimate burden of persuasion at trial.” Id. (citation omitted).

      If “a moving party carries its burden of production, the nonmoving party

must produce evidence to support its claim or defense.” Id. (citation omitted).

“If the nonmoving party fails to produce enough evidence to create a genuine issue

of material fact, the moving party wins the motion for summary judgment.” Id.


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(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548 (1986)

(“Rule 56(c) mandates the entry of summary judgment, after adequate time for

discovery and upon motion, against a party who fails to make a showing sufficient

to establish the existence of an element essential to that party’s case, and on which

that party will bear the burden of proof at trial.”)).

                           SUMMARY OF ARGUMENT

      Bennett MacIntyre (“MacIntyre”), the current Carroll Men’s and Women’s

Head Golf Coach (in a stipend position), cannot establish the three elements of his

prima facie Title IX retaliation claim, i.e.—that he engaged in protected activity,

suffered an adverse action, and there was a causal link between the two.

      First, MacIntyre lacks sufficient proof of a “protected activity.” He cannot

show his Title IX concerns reported in 2016 were based on sex discrimination.

His reported concerns in 2016 were about scholarships, staffing, and funding of

Carroll’s Men’s and Women’s Golf Programs with no indication his claims were

based on sex discrimination.

      Second, MacIntyre did not suffer an adverse action when his one-time,

two-year, full-time Head Golf Coach Employment Contract (“one-time contract”

or “Employment Contract”) was not renewed when it expired on June 30, 2018.

MacIntyre’s Rule 36 (Fed.R.Civ.P.) admission that Carroll had no contractual

obligation to renew his Employment Contract is dispositive that the nonrenewal is


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not retaliation. His Rule 36 admission applies to two contracts: the parties’

April 13, 2016 Settlement Agreement and Release (“2016 Settlement”) and the

Employment Contract (July 1, 2016-June 30, 2018). The 2016 Settlement, which

requires only one Employment Contract, includes a “No Retaliatory Action” clause

whereby Carroll agrees “it will take no retaliatory action against MacIntyre for

raising the claims that are the subject of the agreement.” MacIntyre’s claim that he

should be the full-time Head Golf Coach to comply with Title IX became the

subject of his 2016 Settlement. MacIntyre’s Rule 36 admission that Carroll had no

contractual obligation to renew his Employment Contract is an admission Carroll

had no contractual obligation to renew it under the 2016 Settlement’s

“No Retaliatory Action” clause. Nonrenewal is therefore not a retaliatory action.

MacIntyre also agreed the 2016 Settlement, which requires only the one

Employment Contract, sets forth the complete understanding of the parties.

Further, Montana law applies to both contracts and under Montana law a non-

tenured coach does not generally have a legitimate expectation of contract renewal.

      Third, MacIntyre cannot establish a causal link between any purported

protected activity and any alleged retaliatory action. The temporal proximity must

be “very close” between the two—the U.S. Supreme Court and Ninth Circuit

support a gap of three months is insufficient to establish a causal link.




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      If MacIntyre could establish his prima facie case (he cannot), Carroll has

legitimate, non-discriminatory reasons for not renewing his one-time contract.

Carroll’s student enrollment declined, resulting in $1.2 million in budget cuts to

meet the budget shortfall in fiscal year 2018/19, including a reduction of

15 full-time equivalent (“FTE”) positions campus wide. (The budget shortfall now

exceeds $4.6 million with a reduction of 23 FTEs.) Due to budget cuts, Carroll did

not renew MacIntyre’s one-time contract and instead returned the Head Golf

Coach position to a stipend position as the Men’s and Women’s Golf Programs

were successfully managed from 2006–2016 with a Head Golf Coach in a stipend

position. MacIntyre cannot show Carroll’s reasons are pretext.

      Carroll is also entitled to summary judgment on all claims MacIntyre

released and discharged in his 2016 Settlement, and those claims are barred by the

three-year statute of limitations for Title IX retaliation claims.

      Last, Carroll is entitled to summary judgment on MacIntyre’s speculative

damages claim for the value of the tuition remission benefit for his children, ages 2

and 6. The benefit is conditional on Carroll’s financial situation. There is no way

to know if it will be available in another 13 and 16 years respectively if his

children attend college. MacIntyre has no financial loss related to the value of the

tuition remission benefit given the increase in his earnings capacity at St. Peter’s

Health compared to Carroll. MacIntyre may also obtain other full-time


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employment at Carroll, become re-eligible for the benefit, and use it if it still exists

when (and if) his children attend college.

                                    ARGUMENT

I.    MACINTYRE CANNOT MEET HIS BURDEN TO ESTABLISH HIS
      PRIMA FACIE CASE OF TITLE IX RETALIATION.

      Title IX provides, in part, “[n]o person in the United States shall,

on the basis of sex, be excluded from participation in, be denied the benefits of, or

be subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681(a) (emphasis added); Jackson v.

Birmingham Bd. of Educ., 544 U.S. 167, 173 (2005) (implied right of action exists

under Title IX for retaliation against a person who has complained of sex

discrimination).

      In deciding Title IX retaliation claims, the Ninth Circuit applies the same

“familiar framework used to decide retaliation claims under Title VII.” See Emeldi

v. Univ. of Or., 698 F.3d 715, 724 (9th Cir. 2012) (internal quotation marks

omitted) (footnote omitted), cert. denied, 569 U.S. 947 (2013).

      In this framework, a plaintiff who lacks direct evidence of retaliation
      must first make out a prima facie case of retaliation by showing
      (a) that he or she was engaged in protected activity, (b) that he or she
      suffered an adverse action, and (c) that there was a causal link
      between the two.

Id. at 724 (citation omitted). MacIntyre cannot meet his burden.



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      A.     MacIntyre Cannot Show He Engaged In A Protected Activity.

      MacIntyre reported his perceived Title IX concerns about Carroll’s Men’s

and Women’s Golf Program (“Golf Program”) to Title IX Coordinator

Renee McMahon (“McMahon”) on January 29, 2016 related to recruitment money,

scholarships, staffing, expenditures, and booster club money—not sex

discrimination. (SUF¶¶31-34). On February 10, 2016, McMahon summarized

MacIntyre’s purported Title IX concerns as “some potential violations of Title IX

provisions within the department of Athletics,” which MacIntyre agreed was

“accurate” on February 15, 2016. (SUF¶¶40-43). On February 23, 2016,

McMahon informed MacIntyre that incoming Athletic Director Charlie Gross

(“Gross”) would make analysis of Title IX a priority. (SUF¶46). On February 24,

2016, MacIntyre requested full-time employment related to his Title IX concerns

and a budget comparable to other athletic teams for telephone long distance,

recruitment, travel, copying, supplies, and gear/wear in addition to an increase in

scholarships for the Golf Program. (SUF¶¶47-49). There is no mention of sex

discrimination or gender inequity in any communications between McMahon and

MacIntyre on February 10, 23, 24, or March 3, 2016. (SUF¶¶43,45,52).

      MacIntyre’s alleged Title IX concerns raised to Athletic Director Gross were

about Carroll’s treatment of the Golf Program as a whole and how current

operations work within athletics, including funding of scholarships, staffing, and


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the inadequacy of travel dollars for golf. (SUF¶¶63-67). MacIntyre has never

communicated concerns to Gross in the context of sex discrimination. (SUF¶¶68-

69;237-238).

      Neither McMahon nor Gross interpreted MacIntyre’s perceived Title IX

concerns about the Men’s and Women’s Golf Program as based on sex

discrimination or gender inequity. (SUF¶¶36,69,237).

      On November 17, 2017, MacIntyre told William War (“War”), in War’s

capacity as a friend and not as a member of the Carroll Board of Trustees

(“Trustees”), that Gross did not appreciate Carroll’s Golf Program or provide it

with sufficient resources. (SUF¶210). MacIntyre did not discuss gender equity

with War. (SUF¶212). MacIntyre’s May 10, 2018 email to War generally

references “Title IX laws” and “sports inequities,” with no mention of sex

discrimination or gender inequity. (SUF¶212). MacIntyre’s alleged report to War

is not notice to Carroll as War is not an “appropriate person” to report Title IX

concerns as he is not in a position to take corrective action. Gebser v. Lago Vista

Indep. Sch. Dist., 524 U.S. 274, 290 (1998) (“‘appropriate person’ under § 1682 is,

at a minimum, an official of the recipient entity with authority to take corrective

action to end the discrimination”).

      A general complaint of a Title IX violation or unfair treatment is not

sufficient to establish a protected activity based on sex discrimination. Burch v.


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Regents of Univ. of Cal., 433 F. Supp. 2d 1110 (E.D. Cal. 2006) (no Title IX claim

for wrestling coach’s complaint about lack of separate women’s wrestling team);

Minnis v. Bd. of Sup’rs of La. State Univ., 55 F. Supp. 3d 864, 868 (M.D. Louis.

2014) (no Title IX claim for former LSU coach’s vehemently objecting to

violations of Title IX, including the condition of on-campus tennis facilities, the

inconvenience of the off-site facilities available to the women’s team, and being

paid a salary lower than the men’s tennis coach); Weaver v. Ohio State Univ.,

71 F. Supp. 2d 789, 793-94 (S.D. Ohio 1998), aff'd, 194 F.3d 1315 (6th Cir. 1999)

(plaintiff’s complaints about condition of practice field were insufficient to

establish a protected activity where there is no evidence “plaintiff ever framed her

complaints concerning the field in terms of Title IX sex discrimination”).

      “An employee who engages in a protected opposition activity must indicate

that the opposition is on the basis of a protected ground.” Scott v. Mabus, 618 F.

App'x 897, 901 (9th Cir. 2015) (citations omitted) (plaintiff never mentioned race

or discrimination in his inquiries to his supervisors regarding the 2006 supervisory

position, and thus, his inquiries into the 2006 position did not constitute a protected

activity); Nguyen v. Regents of Univ. of California, 823 F. App'x 497, 502 (9th Cir.

2020) (affirming summary judgment in favor of a college on Title IX retaliation

claim because the complainant’s discrimination allegations were “too vague . . . .

to state a prima facie case of retaliation”). A plaintiff may not be required to use


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“magic words” to establish a protected activity, “but he did have an obligation to

‘at least say something to indicate [that gender was] an issue.’” Burch at 1127

(footnote omitted) (citations omitted).

        Here, MacIntyre did not communicate his perceived Title IX concerns were

based on gender before the expiration of his one-time contract. Carroll’s first hint

that MacIntyre perceived his Title IX concerns as based on gender was in

September 2018 when Carroll received Kerins’ report and MacIntyre’s September

7, 2018 appeal of it (which he withdrew on September 21, 2018). (SUF¶193).

Carroll pursued retaining an expert to conduct a Title IX athletics’ audit to address

MacIntyre’s concerns on or about September 25, 2018. (SUF¶194). Before

Carroll had retained an expert, it received an October 3, 2018 Title IX softball

claim and retained a Title IX expert to conduct a comprehensive review of the

entire Athletic Department. (SUF¶195). Gross shared the June 2019 results (but

not a copy) of the Title IX expert’s comprehensive review with the coaching staff,

i.e.—that Carroll’s Athletic Department is compliant with Title IX. (SUF¶¶199-

200).

              B.    MacIntyre’s Rule 36 Admission That Carroll Has No
                    Contractual Obligation To Renew His One-Time Contract
                    Is An Admission That Nonrenewal Is Not Retaliation.

        MacIntyre’s Rule 36 admission that Carroll had no contractual obligation to

renew his “one-time, two-year, full-time employment contract as Head Golf Coach


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when it expired on June 30, 2018” applies to two contracts: (1) the 2016

Settlement; and (2) the Employment Contract. (SUF¶¶73,84,86).

      The 2016 Settlement includes a “No Retaliatory Action” clause whereby

Carroll agrees “it will take no retaliatory action against MacIntyre for raising the

claims that are the subject of the agreement,” and that “MacIntyre shall be entitled

to all remedies allowed in law or equity resulting from retaliatory action taken by

the College.” (SUF¶81). One claim MacIntyre raised that became a subject of his

2016 Settlement is his contention he should be the full-time Head Golf Coach to

comply with Title IX. (SUF¶48). In the 2016 Settlement, Carroll and MacIntyre

agreed Carroll would employ MacIntyre as full-time Head Golf Coach for two

years. (SUF¶231). MacIntyre’s admission that Carroll had no contractual

obligation to renew his one-time contract is an admission Carroll had no obligation

to renew it under the 2016 Settlement’s “No Retaliatory Action” clause.

Nonrenewal of his one-time contract is therefore not retaliation, and MacIntyre has

no remedies “in law or equity” resulting from the nonrenewal.

      Further, in this case, the parties agreed both contracts shall be governed by

Montana law. (SUF¶¶92,233). In Montana, a non-tenured college employee does

not generally have a legitimate expectation of a contract renewal. Jones v.

Montana State University, 2020 MT 299N, 475 P.3d 763 (Table), *2 (Mont.

Nov. 24, 2020) (citations omitted). MacIntyre must have more than a unilateral


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expectation to continued employment. Id. MacIntyre agreed the 2016 Settlement

sets forth the complete understanding of the parties. (SUF¶80). The complete

understanding is a one-time contract. During Gross’s tenure, three coaches’

contracts were not renewed. (SUF¶295).

             C.    MacIntyre Cannot Establish A Causal Link Between Any
                   Alleged Protected Activity And Alleged Retaliatory Action.

      In the Ninth Circuit, a “causal link can be inferred from circumstantial

evidence such as the employer’s knowledge of the protected activities and the

proximity in time between the protected activity and adverse action.” Pratt v. State

of Haw., No. 17-00599DKW-RLP, 2019 WL 1548570, at *6 (D. Haw. Apr. 9,

2019) (citations omitted). Courts “that accept mere temporal proximity between an

employer’s knowledge of protected activity and an adverse employment action as

sufficient evidence of causality . . . uniformly hold that the temporal proximity

must be ‘very close.’” Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001)

(citing Richmond v. ONEOK, Inc., 120 F.3d 205, 209 (10th Cir. 1997) (three-

month lapse too long); see also Manatt v. Bank of Am., 339 F.3d 792, 802 (9th Cir.

2003). “[T]ime ranging from 42 days up to three months has been found sufficient

to establish temporal proximity.” Pratt, *6 (citations omitted); Keyser v.

Sacramento City Unified Sch. Dist., 238 F.3d 1132, 1141 n.4 (9th Cir. 2001)

opinion amended and superseded on denial of reh’g, 265 F.3d 741 (9th Cir. 2001)

(“our subsequent cases make it clear that a proximity of three months or more is
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insufficient to create a genuine issue of material fact”).

      MacIntyre has no evidence he reported Title IX sex discrimination claims

“very close” in proximity to the alleged retaliatory action, i.e.—Carroll’s return of

the Head Golf Coach position to a stipend position when the contract expired on

June 30, 2018. MacIntyre admitted in an email produced in discovery that his

complaints about Title IX were early in his contract period (commencing July 1,

2016) and that he “let the issue be” because he thought it would take two years for

Gross to complete his analysis. (SUF¶¶96-98). Any alleged protected activity of

MacIntyre is too remote to establish a causal link to the nonrenewal of his contract

when it expired on June 30, 2018, or to any other alleged acts of retaliation.

      Further, although Lori Peterson, Vice President of Finance, Administration

& Facilities (“Peterson”), McMahon’s supervisor, is not the focus of MacIntyre’s

Amended Complaint, Peterson was aware MacIntyre had raised Title IX concerns,

not based on sex discrimination, to McMahon in January 2016 and she signed

MacIntyre’s 2016 Settlement Agreement (Apr. 13, 2016). (SUF¶73). MacIntyre

cannot establish the requisite temporal proximity between Peterson’s general

knowledge of MacIntyre’s concerns on or before April 2016 and the nonrenewal of

his contract when it expired on June 30, 2018.




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II.   CARROLL HAS LEGITIMATE, NON-RETALIATORY REASONS
      FOR ITS ACTIONS.

      A.     MacIntyre’s Employment Contract Was Not Renewed Due To
             $1.2 Million In Campus-Wide Budget Cuts.

           1.       In 2017, Due To Declining Student Enrollment, Carroll’s
                    Budget Committee Anticipated A $1.2 Million Shortfall In
                    Fiscal Year 2018/19.

      Vice President Peterson, Chair of the Budget Committee (a/k/a Resource and

Planning Committee), testified Carroll started seeing dips in enrollment in the

2015/16 fiscal year. (SUF¶99). To address its structural operating deficit, Carroll

relied on its advisory Budget Committee, comprised of 21 members of a cross-

section of Carroll’s community. (SUF¶¶100-02).

      The Budget Committee was transparent with the community about the

budget. (SUF¶105). On December 12, 2016, Peterson emailed budget managers,

including MacIntyre, explaining Carroll was “challenged with external economic

and political uncertainties,” that “business as usual is not an option in the world in

which we are living,” and that, moving forward, Carroll would emphasize “prudent

fiscal management” by re-evaluating resource allocation. (SUF¶¶106-109).

      On June 27, 2017, the Budget Committee anticipated a $1.2 million

operating budget shortfall over fiscal year 2018/19 where operating expenses were

anticipated to exceed revenues. (SUF¶110). The Budget Committee discussed the


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need to adjust the budget in anticipation of the shortfall. (SUF¶111).

      On July 11, 2017, the Budget Committee decided to “give each Division

head a % of budget to cut to get the total needed to reduce the budget.”

(SUF¶114). Carroll calculated the percentage of the overall budget represented by

each program and applied this percentage to the budget shortfall to determine the

amount of budget reductions to each program. (SUF¶115). Every reduction for

fiscal year 2018/19 totaled roughly $1.2 million. (SUF¶116). The Budget

Committee’s recommendations for percentages to reduce the budget were starting

points for each department with some contributing more toward the budget cuts

and others less than the requested amounts. (SUF¶133).

      On July 14, 2017, Peterson updated the Carroll community on the budget.

She explained “approximately 90 percent of Carroll’s operating revenue is derived

from enrollment—i.e., net tuition, housing, dining and fee revenues,” that Carroll

began the 2017/18 fiscal year with a significant projected net student-generated

shortfall, and that the Budget Committee would be focused on balancing the

projected budget to the anticipated shortfall. (SUF¶¶117-18).

      On July 18, 2017, Peterson communicated to Gross that athletics needed to

cut 12 percent from its budget, $218,152.96, over two years: FY 2017/18

($79,537.24) and 2018/19 ($138,615.72). (SUF¶119).




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             2.     Athletic Director Gross Identified $198,753 Of The
                    $218,152.96 In Athletics’ Budget Cuts To The Budget
                    Committee On August 8, 2017.

      The Budget Committee’s August 8, 2017 minutes reflect Gross presented

“$79,537 in reductions for FY 17-18,” and that for the request for $138,616 in

budget cuts for FY 2018/19, he had “$19,400 still to find.” (SUF¶131). Gross had

identified a total of $198,753 of the requested $218,152.96 in athletics’ budget

cuts. (SUF¶130).

             3.     Gross Identified Budget Cuts That Would Minimize The
                    Impact On The Students.

      In identifying the budget cuts, Gross explored reductions that would

minimize the impact on the students. (SUF¶120). There were two positions that

had previously been successfully managed in part-time stipend positions,

the Head Golf Coach position and the Head Cross-Country Coach position.

(SUF¶121). Gross proposed changing both positions back to stipend positions as

those two changes would still meet the coaching requirements to fulfill the needs

of student athletes. (SUF¶¶122-23).

      In reaching the decision to recommend the full-time Head Golf Coach

contract position return to its historic stipend position, Gross’s “[c]onsiderations

were first financial.” (SUF¶124). Gross looked at participation numbers in the

program over time. (SUF¶125). The Golf Program had consistently retained a

roster of 20 student athletes in a stipend position. (SUF¶126). Gross also looked
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at the Frontier Conference institutional data report which provided what FTEs and

what types of assignments were given to coaches. (SUF¶¶127-28). In the Frontier

Conference, four of the six Head Golf Coaches were in part-time positions.

(SUF¶128). Gross also considered competitive schedules and the amount of travel.

(SUF¶129).

             4.    Gross Presented Options For Additional Cuts To The
                   Budget Committee On January 17, 2018.
      On January 17, 2018, Gross presented options to the Budget Committee for

further reducing athletics’ budget, including eliminating the sport of golf.

(SUF¶134). He also presented other options including adding scholarships to the

Golf Program for potential revenue growth. (SUF¶134). As a result of the

discussions, the Budget Committee did not eliminate golf. (SUF¶136). Carroll

(including Gross) did not want to eliminate golf, and Carroll did not eliminate any

sport, in its budget reductions. (SUF¶¶137-138). The discussions before the

Budget Committee about the presence of the Golf Program were a direct result of

the budget deficit and did not occur prior to it. (SUF¶139).

             5.    Gross Recommended On January 24, 2018 The Full-Time
                   Head Golf Coach Contract Position Be Returned To Its
                   Historic Stipend Position.
       On January 24, 2018, the Budget Committee minutes reflect, “Athletics

decided not to cut golf, but will make the coach a stipend position.” (SUF¶140).

The Budget Committee accepted Gross’s proposed reductions in the amount of

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$198,753 over two fiscal years (2017/18 and 2018/19), a reduction from the initial

request for $218,152.96 in budget cuts. (SUF¶141).

             6.    On March 16, 2018, The Budget Committee Recommended
                   Budget Cuts To The Carroll President, Including Returning
                   The Full-Time Head Golf Coach Contract Position To Its
                   Historic Stipend Position.
      The Budget Committee provided its budget recommendations, which

included the return of the Head Golf Coach position to its historic stipend position,

to the President on March 16, 2018. (SUF¶143). The Budget Committee’s

recommendations identified specific budget cuts various Carroll departments could

make, including personnel cuts, to balance its budget. (SUF¶144). According to

Peterson, “[p]ersonnel is the last place we go at Carroll,” but “[w]e needed to find

permanent reductions to build a business model that’s sustainable for the future of

Carroll.” (SUF¶145). The budget decisions were not based on seniority but

looking at what were the best decisions “to necessitate a financially viable model

for Carroll.” (SUF¶146).

      Carroll did not look at reductions “on a person basis,” and instead focused

on how to “deliver programs with the least impact to our students.” (SUF¶¶147-

48). The Budget Committee reduced the budget strategically for what was in the

best interest of Carroll’s students—and would have the least negative impact to

Carroll’s student population. (SUF¶149). The Budget Committee recommended,

as part of $1.2 million in budget cuts to the 2018/19 fiscal year, that the Head Golf

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Coach contract position return to its historic stipend position as the Golf Program

had success with a Head Golf Coach in a stipend position. (SUF¶150). The

decision was purely budgetary. (SUF¶151).

      The Budget Committee did not discuss any alleged complaint of MacIntyre.

(SUF¶152). McMahon did not participate in the Budget Committee’s decision to

return the full-time Head Golf Coach position to a stipend position. (SUF¶153).

Gross was not a voting member of the Budget Committee and did not vote on

whether to approve any budget cuts, including to the Golf Program. (SUF¶154).

             7.    The Trustees Approved The Budget On May 11, 2018.
      After the President approved the Budget Committee’s recommendations on

March 16, 2018, the recommendations were in turn considered by the Trustees’

Finance Committee on May 10, 2018, and ultimately the Trustees voted to approve

the budget on May 11, 2018 effective July 1, 2018, the beginning of the fiscal year.

(SUF¶¶157-58). The Trustees approved roughly $1.2 million in budget cuts in

fiscal year 2018/19, including $543,752 in personnel cuts. (SUF¶159). The

Trustees’ 2018 comprehensive, campus-wide budget cuts included budget

reductions to the Carroll Athletic Department in the amount of $198,753 and to

Academics and Academic Support in the amount of $445,349.50. (SUF¶¶161-63).

The Trustees’ 2018 budget cuts were allocated proportionally among Carroll’s

departments, and each department was required to cut a fixed percentage of their


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budget. (SUF¶162). Personnel cuts comprised 45 percent of the Trustees’ 2018

budget cuts, including a reduction of approximately 15 FTE employment positions

that were spread proportionally across seven divisions at Carroll. (SUF¶¶164-65).

      The personnel change for MacIntyre’s position as Head Golf Coach from a

full-time, salaried position to a part-time stipend position amounted to a 0.63 FTE

reduction. (SUF¶170). As a result, Carroll realized approximately $32,947 in

savings (for wages and benefits). (SUF¶171). Carroll’s decision to return the

Head Golf Coach position to its historic stipend position comprised 6% of the total

personnel-cost reductions during that time. (SUF¶172).

      All personnel-cost reductions included in the roughly $1.2 million dollar

budget cuts were to address Carroll’s structural operating deficit. (SUF¶166).

The Trustees’ approval of $1.2 million in budget cuts on May 11, 2018 was in

response to Carroll’s structural operating deficit and not motivated by other

factors. (SUF¶213). Carroll’s Budget Committee up to the Trustees made

business recommendations and decisions “with the least impact on our students.”

(SUF¶¶147,149,167).

      B.     Carroll Has Legitimate, Non-Discriminatory Reasons For The
             Other Alleged Acts Of Retaliation.

      Carroll has legitimate, non-discriminatory reasons for MacIntyre’s other

alleged acts of retaliation listed in his Amended Complaint.



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             1.     MacIntyre Relocated His Office From The Administrative
                    Office Area Seven Months After He No Longer Had
                    Administrative Duties.

      Carroll had legitimate, nondiscriminatory reasons to request MacIntyre

relocate from the administrative office area in January 2017 because after July 1,

2016, MacIntyre no longer had administrative responsibilities. (SUF¶¶242-43,

245). MacIntyre assumes the move was because Gross wanted the prime space.

(SUF¶244). Gross was trying to create an administrative office area for athletic

staff who perform administrative functions. (SUF¶¶244,248-249). Gross offered

for MacIntyre to move to one of two other locations because MacIntyre no longer

had administrative duties. (SUF¶245). MacIntyre likes his office location.

(SUF¶247).

             2.     The Head Golf Coach Position Is A Part-Time Position.

      MacIntyre claims after his one-time contract expired June 30, 2018, and

returned to its historic stipend position, that: (1) Carroll increased his

responsibilities as a stipend coach; (2) imposed mandates no other coach was

required to follow (workout and practice schedules); and (3) required a roster size

of twenty (20) athletes, without providing funding for recruitment and/or

scholarships. (SUF¶251).

      Carroll has legitimate, non-discriminatory reasons for the stipend position,


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and MacIntyre’s duties did not increase. His duties were the same in the historic

stipend position as in the one-time contract position. According to McMahon (as

Director of Human Resources), the Head Golf Coach position responsibilities have

remained the same since 2006. (SUF¶256). From 2006–2016, MacIntyre

performed the duties in a stipend position while also employed full-time in two

other positions. (SUF¶257).

      Carroll has legitimate, non-discriminatory reasons for setting the roster

number at 20 athletes. (SUF¶252). All sports are provided roster expectations,

and the roster number of 20 for golf is consistent with the Golf Program’s roster

numbers when the Head Golf Coach was in a stipend position. (SUF¶252). The

roster expectation did not increase. (SUF¶252). MacIntyre controls his own

budget and may allocate resources to recruitment. (SUF¶254). Scholarships are

proportionally given to the proportion of male and female students that participate

at Carroll. (SUF¶255). Further, workout and practice schedules are requested

from all coaches for facility procurement. (SUF¶253).

            3.     Booster Club Money.

      MacIntyre claims Gross would not permit him to start a booster club for

golf. (SUF¶259). MacIntyre made the request on April 5, 2018. (SUF¶260).

After Gross became Athletic Director in March 2016, he did not allow any new

booster clubs. (SUF¶261). Gross did not permit new booster clubs because it was


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more beneficial to raise funds without booster clubs as they create expectations to

their members for certain benefits/gifts which reduces the amount of funds raised.

(SUF¶263). There is no prohibition on the Golf Program, or any sport, to

fundraise, and some programs have been very successful in fundraising.

(SUF¶¶262,264). The Golf Program has not fundraised. (SUF¶265).

             4.    Submission Of Program Information Report.

      MacIntyre claims Carroll changed his Program Information Report to the

administration in December 2019 (after his alleged termination) to sterilize any

mention of Title IX. (SUF¶272). Carroll provided legitimate, non-retaliatory

reasons for the submission of the version of the report that did not mention

Title IX. Gross, the Approver, thought the final report MacIntyre submitted to him

was the same one he had saved as a PDF ready for submission to the entire Carroll

community; however, MacIntyre did not notify Gross that he had made any new

changes. (SUF¶¶273-276). After the miscommunication was discovered, Gross

submitted the modified report which mentioned Title IX. (SUF¶277).

             5.    Golf Program In Lowest Quintile.

      MacIntyre claims Carroll placed his program in the lowest (5th) quintile for

evaluation and possible elimination. (SUF¶278). The Program Prioritization Task

Force (a/k/a Committee) (“Task Force”) placed the Golf Program, and 20 other

administrative programs, in the 5th quintile on January 14, 2019. (SUF¶279).


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Carroll President Dr. Cech appointed the Task Force on October 5, 2018 to

evaluate academic and administrative programs and make recommendations to

invest in the program and to identify program cuts. (SUF¶280). Because the

deliberations of the Task Force are confidential, the reasons for the Golf Program’s

placement in the 5th quintile are unknown. (SUF¶282). The 105 administrative

programs (including the Golf Program) were placed in one of five quintiles

(21 programs in each quintile). (SUF¶279).

       Other than Peterson communicating to the Task Force Chair about the need

to replace the report, neither Peterson, McMahon, nor Gross had any conversations

with the Task Force about the Golf Program or MacIntyre. (SUF¶¶284-85).

Further, after the Golf Program was placed in the 5th quintile, Gross worked with

MacIntyre on a Program Analysis Report, and Gross recommended the Task Force

enhance the Golf Program by infusing money for scholarships into the program.

(SUF¶¶286-87).

III.   MACINTYRE CANNOT MEET HIS BURDEN TO SHOW
       CARROLL’S REASONS ARE BOTH FALSE AND THE REAL
       REASON IS RETALIATION.

       MacIntyre cannot meet his burden to establish Carroll’s legitimate, non-

retaliatory reasons for its decision to change the full-time Head Golf Coach

contract back to its historic stipend position or the other alleged retaliatory acts

are pretext because MacIntyre is unable to show Carroll’s reasons are both false


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and that the real reason is retaliation. St. Mary’s Honor Ctr. v. Hicks, 509 U.S.

502, 515 (1993) (“[A] reason cannot be proved to be ‘a pretext for discrimination’

unless it is shown both that the reason was false, and that discrimination was the

real reason.”) (emphasis in original); see also Dugas v. Lockheed Martin Corp.,

725 Fed. App’x. 573, 574 (9th Cir. 2018) (same) (citation omitted). The budget

crisis at Carroll and the Golf Program’s success managed by a Head Coach in a

stipend position from 2006-2016 are well documented and MacIntyre cannot show

otherwise. (SUF¶¶99-172 (budget crisis), SUF¶¶202-05 (program success)).

      Nor can MacIntyre establish that discrimination was the real reason for any

alleged retaliatory act. To meet his burden, MacIntyre must show that the alleged

retaliation would not have occurred but for the alleged protected activity. Univ. of

Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 352 (2013) (but-for causation standard

applies to Title VII retaliation claims); Emeldi, 698 F.3d at 725 (in the Ninth

Circuit, “the Title VII framework generally governs Title IX retaliation claims”).

MacIntyre cannot meet his burden.

IV.   CARROLL IS ENTITLED TO SUMMARY JUDGMENT ON
      MACINTYRE’S INDIVIDUAL EMPLOYMENT CLAIMS WHICH
      HE RELEASED IN HIS 2016 SETTLEMENT.

      A.     This Court Has Jurisdiction To Enforce Macintyre’s 2016
             Settlement Where He Released The Same Claims He Reasserts In
             His Amended Complaint.

      This Court has jurisdiction to determine whether MacIntyre’s claims are


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barred by his 2016 Settlement. Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 382 (1994) (enforcement of settlement agreements is for state courts

unless there exists an independent basis for federal jurisdiction). The Court has

subject matter jurisdiction over MacIntyre’s Title IX retaliation claims and

ancillary jurisdiction over the claims in MacIntyre’s Amended Complaint that he

released in the 2016 Settlement. See Peacock v. Thomas, 516 U.S. 349, 355-56

(1996) (ancillary jurisdiction extends to “claims having a factual and logical

dependence on ‘the primary lawsuit,’ but that primary lawsuit must contain an

independent basis for federal jurisdiction”) (internal citations omitted) (quoting

Owen Equipment & Erection Co. v. Kroger, 437 U.S. 365, 376 (1978);

In re Suchy, 786 F.2d 900, 902-03 (9th Cir. 1985) (citation omitted) (“[I]t is well

settled that a court has inherent power to enforce summarily a settlement

agreement involving an action pending before it.”).

      B.     MacIntyre Released Any And All Individual Employment Claims
             In His 2016 Settlement.

      The 2016 Settlement requires it be “enforced in accordance with the laws of

the State of Montana.” (SUF¶233). In Montana, “[a] valid settlement agreement is

enforceable like any other binding contract.” B.D. By and Through Deming v.

Deming, 2020 MT 205N, ¶ 7, 468 P.3d 815, 401 Mont. 556 (Table), (quoting

Hinderman v. Krivor, 244 P.3d 306, 310 (Mont. 2010) (citation omitted)).



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      Here, MacIntyre admits his 2016 Settlement released his individual

employment claims against Carroll. (SUF¶¶75-76,224-26). He released “any and

all claims” arising out of or in any way connected with his employment at Carroll.

(SUF¶¶76,226).

      MacIntyre agreed the consideration provided to him under the 2016

Settlement “shall be the sole relief provided to MacIntyre for the claims that are

released.” (SUF¶82). Although MacIntyre settled his claims against Carroll on

April 13, 2016, as his “sole relief” “for the claims that are released,” MacIntyre’s

Amended Complaint includes those same claims as a basis for damages in this

case. (SUF¶¶219-23).

      MacIntyre released his claims related to Kyle Baker’s negative performance

review of MacIntyre in March 2016. (SUF¶225). The 2016 Settlement required

the removal of Baker’s negative evaluation of MacIntyre and it was removed.

(SUF¶¶222,232). MacIntyre admits he waived any claims related to Baker.

(SUF¶225).

      MacIntyre released his claims that he was offered the position of full-time

Head Golf Coach on May 22, 2015 by former Athletic Director Curt Apsey and

that the former President of Carroll allegedly rescinded the offer on or about June

22, 2015. (SUF¶220(4)). MacIntyre admits he waived any of his claims related to

the former President and any claims before April 13, 2016. (SUF¶225).


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      MacIntyre has also released his individual claims related to bringing Title IX

concerns to Carroll’s Title IX Coordinator Renee McMahon on January 29, 2016.

(SUF¶¶75-76,220(6),224,226). MacIntyre claims his meeting with McMahon

caused him stress, but his emotional distress really started on his “worst first date”

with Athletic Director Gross in March or early April 2016, before the 2016

Settlement. (SUF¶¶220(10),234). MacIntyre has released any claims related to

MacIntyre’s alleged stress from his meeting with McMahon on January 29, 2016

and the emotional distress he alleges to have suffered from his “worst first date”

with Gross—all before the 2016 Settlement. (SUF¶¶220(10),230). MacIntyre has

released his claims for emotional distress which started before April 13, 2016.

(SUF¶¶75-76,226).

      MacIntyre has also released any claims related to efforts by McMahon to

obtain quotes for a Title IX audit from the Association of Title IX Administrators

in February 2016, and any claims related to Carroll’s decision to instead use, with

MacIntyre’s agreement, the services of incoming Athletic Director Gross who had

Title IX experience and would perform the day-to-day Title IX analysis in the

Athletic Department. (SUF¶220(6)).

      The Court should dismiss all claims in the Amended Complaint which

MacIntyre released in his 2016 Settlement.




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V.    MACINTYRE’S CLAIMS WHICH ACCRUED ON OR BEFORE
      JUNE 21, 2016 ARE BARRED BY THE THREE-YEAR STATUTE OF
      LIMITATIONS.

      In the Ninth Circuit, “Title IX claims are subject to the applicable state

statute of limitations for personal injury actions.” Stanley v. Trs. of Cal. State

Univ., 433 F.3d 1129, 1136 (9th Cir. 2006). Under Montana Code Annotated

§ 27-2-204, the statute of limitations for personal injury actions is three years.

Although state law provides the applicable limitations period, federal law governs

when the limitation period commences. “[T]he touchstone for determining the

commencement of the limitations period is notice: ‘a cause of action generally

accrues when a plaintiff knows or has reason to know of the injury which is the

basis of his action.’” Stanley 433 F.3d at 1136 (internal citations omitted).

      Here, MacIntyre filed his Complaint on June 21, 2019. (SUF¶214). The

applicable three-year statute of limitations bars claims that accrued before

June 21, 2016. MacIntyre’s Amended Complaint, however, advances claims that

accrued before June 21, 2016. (SUF¶¶220-21,223).

      The Court should grant Carroll’s motion for summary judgment on all

claims in the Amended Complaint that accrued before June 21, 2016. The

pre-June 21, 2016 claims include the same claims that MacIntyre released in his

2016 Settlement. (SUF¶¶220-26).




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VI.   MACINTYRE HAS NO DAMAGES FOR HIS PURPORTED LOSS
      OF THE TUITION REMISSION/EXCHANGE BENEFIT FOR HIS
      CHILDREN.

       MacIntyre will not suffer any financial loss for the purported loss of the

tuition remission/exchange benefit for his two children (ages 2 and 6 on Sept. 30,

2020). (SUF¶¶304-5,308-9). MacIntyre admits the tuition remission benefit is

conditional on Carroll’s financial situation at the time his children may enter

college. (SUF¶307). It is impossible to predict whether the benefit will exist when

his children attend (or not attend) college. If they attend college, it is unknown

where they will attend and if they will attend all four years. Howard University v.

Lacy, 828 A.2d 733, 739, n.8 (D.C. 2003) (setting aside tuition remission award

“as speculative” as based upon the questionable assumptions that plaintiff’s seven-

year-old daughter would attend the university and would remain there for four

years—it is “‘impossible to say with any assurance that such [future] damages are

reasonably or probably certain to follow’”); Kraft v. High Country Motors, Inc.,

2012 MT 83, ¶ 61, 276 P.2d 908, 364 Mont. 465 (“Speculative damages that are

not clearly ascertainable are not recoverable.”) (citations omitted).

      Further, MacIntyre has no financial loss related to the value of the tuition

remission as MacIntyre’s earnings capacity (wages and benefits) at St. Peter’s

Health, where he became employed after the nonrenewal of his one-time contract,

exceed his earnings capacity at Carroll, and if he invests the extra income for the


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benefit of his children it will far exceed the amount of the tuition remission benefit.

(SUF¶¶304-05).

      MacIntyre may also apply for full-time employment at Carroll and become

re-eligible for, and use, the tuition remission benefit for his children—if it still

exists when and if his minor children attend college. (SUF¶308). Since June 30,

2018, MacIntyre has not applied for any vacant full-time positions at Carroll.

(SUF¶¶310-16).

                                   CONCLUSION

      Carroll is entitled to summary judgment as a matter of law. Carroll

respectfully requests the Court grant its motion.

      DATED April 2, 2021.

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                    CERTIFICATION OF COMPLIANCE

      Pursuant to United States District Court for the District of Montana

Local Rule of Procedure 7.1(d)(2)(E), I certify this pleading contains 6493 words,

as calculated by Microsoft Word for Windows, excluding the caption, certificates

of services and compliance, table of contents and authorities, and exhibit index.

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